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                                                                                CRIMINAL COMPLAINT
                                                                                 (Submitted electronically)
                                                                                                                   DISTRICT of ARIZONA
                           United States District Court
                                          United States of America                                                 DOCKET NO.

                                                      v.
                                        Rey David Marquez-Jimenez
                                                                                                                   MAGISTRATE'S      CASE NO.
                                        DOB: 1999; Citizen of Mexico
                                                                                                                            22-01488MJ
                                        Complaint for violation of Title 18, United States Code, Sections 111(a) and 111(b)

COMPLAINANT'S                    STATEMENT OF FACTS CONSTITUTING                   THE OFFENSE OR VIOLATION:
On or about January 26, 2022, in the District of Arizona,                                    Defendant Rey David Marquez-Jimenez         did intentionally
and forcibly assault, resist, oppose, impede, intimidate,                                    and interfere with United States Border Patrol Agent J.O.,
an agent of the United States as designated in section                                       18 U.S.C. § 1114, while agent J.O. was engaged in, or on
account of the performance of his duties, and in doing                                       so the Defendant used a deadly and dangerous weapon, to
wit: a knife, and such act involved physical contact. All                                   in violation of Title 18, United States Code, Sections 111(a)
and 111(b).




BASIS OF COMPLAINANT'S                                                 CHARGE    AGAINST        THE ACCUSED:

On January 26, 2022, at approximately 4:18 a.m., United States Border Patrol Agent J.O. responded to a remote
location near Hereford, Arizona. A surveillance tower had observed a group of three individuals entering the
United States from Mexico. After locating two of the individuals, Agent J.O. was attempting to take one person
into custody when Agent J.O. was attacked by another person, later identified as Rey David Marquez-Jimenez.
Marquez-Jimenez       struck Agent J.O. on the head and tackled him to the ground. In the ensuing struggle,
Marquez-Jimenez       pulled a knife and held it near Agent J.O.'s throat and face. Agent J.O.'s hand was cut while
trying to end the attack. Marquez-Jimenez      and the other person fled from the scene. Shortly thereafter,
Marquez-Jimenez,       was arrested by other Border Patrol Agents who responded to the area.

In a post-Miranda                          statement, Marquez-Jimenez                   admitted to attacking Agent J.O. and holding the knife to the
agent's throat.




MATERIAL WITNESSES IN RELATION TO THE CHARGE:

DETENTION REQUESTED                                                                                                S:~a~cia'title)
   Being duly sworn, I declare that the foregoing is
   true and correct to the best of my knowledge.                                                                   OFFICIAL      TITLE
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                                                                                SARAH
                                                                                             Digitally signed by   FBI Special Agent Michael Livingood
                                                                                             SARAH HOUSTON
AUTHORIZED                           AUSA Sarah B. Houston                      HOUSTON      Date:2022.01.27
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      Sworn to telephonically.
SIGNATURE OF MAGISTRATE                              JUDGE!)                                                       DATE
                                                                                                                   January 27,2022
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